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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                :
                                        :
      v.                                :       CRIMINAL NO. 21-CR-117 (TFH)
                                        :
                                        :
ALEX HARKRIDER                          :


   DEFENDANT’S UNOPPOSED MOTION TO TEMPORARILY MODIFY BOND
  CONDITIONS TO ALLOW VOLUNTEER WORK FOR HURRICANE IDA RELIEF



      Mr. Alex Harkrider, through his attorney, Kira Anne West, respectfully

requests that this Honorable Court temporarily modify his conditions of release.

Specifically, Mr. Harkrider asks the Court to allow him to volunteer with the Cajun

Army to provide emergency hurricane relief in Louisiana along the Gulf Coast for

at least a week, and possibly longer. He would be supervised by Cajun Army

leader Katie Pechon of Mandeville, Louisiana. Mandeville, Louisiana is across the

causeway and north of Ponchatrain Lake in New Orleans, Louisiana.

Argument

      As previously presented by the defense, Mr. Harkrider has a long history of

volunteerism, specifically with hurricane rescues which he did for several years

prior to his arrest in this case. Since his last hearing on July 30, 2021, wherein this

Court granted his motion to remove electronic monitoring, Mr. Harkrider has


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volunteered by selling tickets, making t-shirts, and working at a fundraiser in his

community for a fellow marine who has cancer. Mr. Harkrider has a long history

of successful volunteerism in his community.

         The current situation in New Orleans is that it is completely without power,

and much catastrophic damage, including load imbalance to the transmission in

generation. This is catastrophic grid failure. It will take days to determine the

extent of the damage to the power grid in metro New Orleans. See

https://www.nola.com/news/hurricane/article_dd8af4fe-095c-11ec-95eb-

c70a067c2932.html?utm_medium=social&utm_source=email&utm_campaign=user-

share.

         Undersigned counsel contacted pretrial services on August 29, 2021, who

advised that undersigned counsel would need to file a motion. Pretrial services

“defers to the Court and the government” but Ms. Holman, the pretrial officer

assigned to his case has “reviewed their website..[and] appears they do good

work.” Undersigned counsel has also contacted AUSA’s assigned to this case and

indicate that the United States is not opposed to this motion as they spoke to

pretrial officer Holman who indicated she is not opposed to the motion. As

previously argued, Mr. Harkrider can continue to be supervised by telephone

contacts, email, text and any other condition this Court deems appropriate.

Conclusion

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         Mr. Harkrider can effectively be monitored by Pretrial Services for this

volunteer effort. There is no threat to the community posed by Mr. Harkrider

which is evidenced by his cooperation with law enforcement authorities and

perfect record of compliance since his release. The combination of conditions

currently in place would assure this Court of the safety of the community and his

presence at trial.

                                             Respectfully submitted,

                                             KIRA ANNE WEST



                                      By:              /s/
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                                 CERTIFICATE OF SERVICE

         I hereby certify on the 30th day of August, 2021, a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                         /S/

                                                     Kira Anne West




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